                      Case 0:01-cv-02086-DWF-AJB Document 322-6     Filed 08/16/2004                         Page 1 of 15
                                               Summary Exhibit 8 (Amended)
                  SELECTED TERMINATION EVIDENCE FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame Division / Location Evidence                                                               Source
Branham, Hollis          2001    Phosphprod           87: 9 A. Sean [Butler] [Caucasian HR Manager] called me setting up,   87
Plaintiff                        Tampa, FL           wanting to set up an
                                                        10 appointment to talk, to discuss my reasons for not
07/21/00 - 10/01/01                                     11 wanting to sign the severance package and to provide any
                                                        12 information that he could for me. And we met and I
                                                        13 wanted to know how was I chosen. Initially he said that
                                                        14 I scored low on my PMP and my KRAs, and I told him that I
                                                        15 was among the highest on my PMPs and my KRAs. And he
                                                        16 said that he would want to do some research and find out
                                                        17 more. He got back with me and he told me that I scored
                                                        18 low on housekeeping and recordkeeping.
                                                        ***
                                                        21 A. That was during a later conversation when he got
                                                        22 back with me. Immediately he went and pulled my KRA and
                                                        23 PMP results and saw that they were among the highest.
                                                        24 Q. Among the highest as compared to whom?
                                                        25 A. The other analysts in the lab.

Branham, Hollis          2001     Phosphprod          102:19 Q. As you sit here today, do you honestly believe              102-03
Plaintiff                         Tampa, FL             20 that race was a factor in the decision to eliminate your
                                                        21 position as part of that reduction in force?
07/21/00 - 10/01/01                                     22 A. Yes.
                                                        23 Q. Why?
                                                        24 A. Because the information that I was told was the
                                                        25 reason for me being gridded low, it came from a proven
                                                      103: 1 racist. And the information was inaccurate as far as
                                                        2 housekeeping.




                                                                   Page 1 of 15
                        Case 0:01-cv-02086-DWF-AJB Document 322-6     Filed 08/16/2004                         Page 2 of 15
                                                 Summary Exhibit 8 (Amended)
                      SELECTED TERMINATION EVIDENCE FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates      Time Frame Division / Location Evidence                                                                      Source
Brown, Toya                2001    NAGOC               225:19 Q. So what ultimately led you to decide it was                         225-27
Plaintiff                          Houston, TX            20 time to end your employment relationship with
                                                          21 Cargill?
03/17/97 - 03/31/01                                       22 A. The continued lack of opportunities,
                                                          23 consistently seeing my peers promoted and relocated
                                                          24 to choice locations, the continued stress that was
                                                          25 brought on by lack of opportunity. Just a continued
                                                       226: 1 containment of my potential forced me to leave.
                                                           2 Q. Was there a triggering event, so-called straw
                                                           3 that broke the camel's back or was it -- was there
                                                           4 such an event that you could point to that after this
                                                           5 happened I decided I was going to leave?
                                                           6 A. No, I think it was the culmination of
                                                           7 continued oppression of my personal growth.
                                                           8 Q. At the time, well, at the time for example
                                                           9 you submitted your letter of resignation, did you
                                                          10 have another job lined up?
                                                          11 A. No.
                                                          ***
                                                       227: 1 A. No, when I left Cargill I had no future
                                                           2 prospects of employment, that I remember at the time.

Cephus, Lois E.            2001      Excel              10. I stayed in the Case Manager position until April 2001. I left Cargill    Para. 10
Declarant - Potential                Dodge City, IA     because I was no longer happy there and I did not agree with some of their    177-79
Class Member                                            processes, specifically the way they treated me and other African Americans.
                                                        There was discrimination against people of color and I could no longer handle
11/10/90 - 04/09/01                                     working in that environment.

Collier, Michael K.        1998      Corn Milling         48:19 A. Randy Benesh, who was the supervisor -- or                        48-49
Declarant                            Cedar Rapids, ID      20 manager, I guess.
                                                           21 Q. Is he Caucasian or African-American?
07/12/95 - 05/30/98                                        22 A. Caucasian. They terminated me without even
                                                           23 telling me -- or showing me -- They came and told me
                                                           24 that I wasn't a fit for what they were looking for
                                                           25 without explaining to me, you know, what they were
                                                          49: 1 looking for.




                                                                      Page 2 of 15
                      Case 0:01-cv-02086-DWF-AJB Document 322-6     Filed 08/16/2004                          Page 3 of 15
                                               Summary Exhibit 8 (Amended)
                  SELECTED TERMINATION EVIDENCE FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame Division / Location Evidence                                                                        Source
Collier, Michael K.      1998    Corn Milling        4. I know that I was terminated because of my race. I had been doing good       Para. 4
Declarant                        Cedar Rapids, ID work for Cargill. I always received meets or exceeds expectations on my            48-49, 131-35
                                                     reviews and I never had any discipline problems. Ms. Heightman and Mike
07/12/95 - 05/30/98                                  Vilasic (Caucasian) called me into the office and informed me that they did not
                                                     think I was qualified to do the Starch Coordinator position. They said they
                                                     wanted to take other avenues. I asked what that was, and they said they
                                                     could not share that information with me. When I asked further, they said they
                                                     could fire me or give me a severance with back pay added. I asked why there
                                                     had not been a warning about my job performance so that I could improve.
                                                     They did not answer. I was never asked what I thought of Cargill or how
                                                     things could be different. They never asked me anything. They just kept
                                                     repeating that I had two choices, be fired or take the severance package.
                                                     Several of my co-workers, including Keith O’Malley (Caucasian) who had
                                                     been at Cargill for years commented that they had never seen anybody fired
                                                     the way I had been.

                                                        48:19 A. Randy Benesh, who was the supervisor -- or
                                                           20 manager, I guess.
                                                           21 Q. Is he Caucasian or African-American?
                                                           22 A. Caucasian. They terminated me without even
                                                           23 telling me -- or showing me -- They came and told me
                                                           24 that I wasn't a fit for what they were looking for
                                                           25 without explaining to me, you know, what they were
                                                        49: 1 looking for.
                                                       ***
                                                        131:10 A. And they replaced me in that position with
                                                           11 another person that worked there.
                                                           13 A. I can't
                                                           14 think of Carla's last name. I forgot it.
                                                           15 Q. Is she Caucasian or African-American?
                                                           16 A. Caucasian.

                                                         ***
                                                        132: 3 Q. Do you know how much money they paid her
                                                          4 when they brought her into your position?
                                                          5 A. The actual amount, no. But we were out
                                                          6 after -- one evening after I had left the company,
                                                          7 when I found out that she got the position, and I
                                                          8 asked -- I said, how did they get you to do that.
                                                          9 She said, they paid me. She was in accounting, and
                                                         10 they make pretty good money. So it would have

                                                                     Page 3 of 15
                     Case 0:01-cv-02086-DWF-AJB Document 322-6     Filed 08/16/2004                     Page 4 of 15
                                              Summary Exhibit 8 (Amended)
                 SELECTED TERMINATION EVIDENCE FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates   Time Frame Division / Location Evidence                                                           Source
                                                        11 probably been -- It would have been a demotion for
                                                        12 her actually to even come there. So she said that
                                                        13 they gave her what she wanted, so . . .
                                                        18 Q. Do you think that you are more qualified to
                                                        19 do that position than Carla was?
                                                        20 A. Yeah, she didn't know anything about it.
                                                        21 She didn't know anything about the starch business.
                                                    ***
                                                     134: 6 Q. You indicate in paragraph 4 of your
                                                        7 declaration that you talked to some of your coworkers
                                                        8 about your termination.
                                                        9 A. Yep.
                                                        10 Q. When did you talk to them about it?
                                                        11 A. One was when I was coming back to my desk
                                                        12 after they terminated me.
                                                        13 Q. Who did you talk to then?
                                                        14 A. Keith O'Malley and Wayne Strang.
                                                        15 Q. And who?
                                                        16 A. And Wayne Strang.
                                                        17 Q. Wayne Strang. What did you say to them?
                                                        18 A. They asked me what I was doing when I was
                                                        19 packing up my stuff and I said I have just been let
                                                        20 go. And they asked for what. And I said I don't
                                                        21 know. They thought I was kidding. They thought --
                                                        22 because of how I am. I am pretty easygoing. They
                                                        23 thought I was joking.
                                                        24 Q. What was their response?
                                                        25 A. They couldn't believe it. O'Malley -- they
                                                     135: 1 both came -- That evening Wayne called me and we met
                                                        2 for drinks. They thought I was going to file a
                                                        3 discrimination lawsuit against them. I just -- I
                                                        4 didn't. I just went on because they knew it was
                                                        5 unfair. They knew I was treated unfair. And they
                                                        6 both are Caucasian. They know Randy and Teresa, how
                                                        7 I would ask for things and -- or ask for help on
                                                        8 stuff and, you know, it wasn't -- just turned down.
                                                        9 They knew that.
                                                        10 Q. Did either Mr. O'Malley or Mr. Strang
                                                        11 indicate to you that they thought your firing was for
                                                        12 a discriminatory reason?
                                                        13 A. Yes.

                                                                  Page 4 of 15
                      Case 0:01-cv-02086-DWF-AJB Document 322-6     Filed 08/16/2004                          Page 5 of 15
                                               Summary Exhibit 8 (Amended)
                  SELECTED TERMINATION EVIDENCE FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame Division / Location Evidence                                                                Source
                                                        14 Q. Did both of them say that?
                                                        15 A. Both of them.
                                                        16 Q. Can you elaborate on what they said?
                                                        17 A. They said that they didn't think Randy liked
                                                        18 blacks and that it seemed ever since he came
                                                        19 everything that I was doing he went against. And
                                                        20 he -- Keith being in a management position said that
                                                        21 he doesn't see where Teresa even tried to help.

Collins, Dawn            2000      Admin               152: 8    Q Okay. Now, at some point you indicated you                152-53
Plaintiff                          Minnetonka, MN         9 told Ms. Daniel that you -- You did tell her why you
                                                         10 wanted to leave your job?
07/20/92 - 08/02/00                                      11     A Yes.
                                                         12     Q And what did you tell her?
                                                         13     A That I was unhappy in my position. And this,
                                                         14 again, is not verbatim, but the message was that my
                                                         15 unsatisfaction came because of the way that I felt I was
                                                         16 being treated in my position and an inability to really
                                                         17 be effective.
                                                         ***
                                                       153: 8    A As I previously stated, I was unhappy with the
                                                          9 way that I felt I was being treated and feeling an
                                                         10 inability to be able to really be successful or be
                                                         11 effective in my job.




                                                                    Page 5 of 15
                      Case 0:01-cv-02086-DWF-AJB Document 322-6     Filed 08/16/2004                            Page 6 of 15
                                               Summary Exhibit 8 (Amended)
                    SELECTED TERMINATION EVIDENCE FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame Division / Location Evidence                                                                  Source
Collins, Dawn            2000    Admin               429:23      Q Now, who do you believe intentionally                       429-30
Plaintiff                        Minnetonka, MN         24 discriminated against you?
                                                        25     A Sue Sjeklocha. [Caucasian Manager]
07/20/92 - 08/02/00                                     ***
                                                     430: 2          Sue's role is to be 80 percent diversity and
                                                         3 retention as the diversity and retention manager, and she
                                                         4 was not officed at my building. And so her partial
                                                         5 commitment to diversity and retention, while I'm the only
                                                         6 other person working on diversity and retention, I felt,
                                                         7 made my job much more difficult and my inability to be
                                                         8 effective. She was unavailable, and also took on other
                                                         9 responsibilities which minimized the amount of time that
                                                        10 she was actually supporting the diversity and retention
                                                        11 efforts. There were discussions around her moving into
                                                        12 the office center to be housed -- or have a second office
                                                        13 in a closer location. That never happened.

Collins, Dawn            2000      Admin               543:16    Q Okay. How did Nancy Siska [Caucasian HR VP] discriminate 543
Plaintiff                          Minnetonka, MN      against
                                                         17 you in your role as a diversity and retention specialist?
07/20/92 - 08/02/00                                      18    A Again, my inability to really be effective
                                                         19 because of the lack of support from my manager, who
                                                         20 reported to Nancy, and the -- that would be my comment.

Douglas, Virginia        2000      CIS                  94:11    Q Why did you leave your job with CIS?                        94
Plaintiff                          Chicago, IL           12    A After everything that has happened, I felt that
                                                         13 I was invisible, and I didn't think that they were taking
12/03/90 - 11/29/00                                      14 my career serious, and I -- at the time I needed to
                                                         15 leave. By that time I was exhausted.
                                                         16    Q When you say that you felt that they weren't
                                                         17 taking your career seriously, who is "they"?
                                                         18    A Well, when I say "they," I mean whoever my
                                                         19 managers are at that time.
                                                         20    Q So who?
                                                         21    A Well, like I said, during the course of the
                                                         22 time I was there, it was always road blocks, you know,
                                                         23 speed bumps to me getting positions that I want, that I
                                                         24 wanted, that I inquired about. After the last
                                                         25 announcement, it was -- I was exhausted.



                                                                     Page 6 of 15
                      Case 0:01-cv-02086-DWF-AJB Document 322-6     Filed 08/16/2004                         Page 7 of 15
                                               Summary Exhibit 8 (Amended)
                  SELECTED TERMINATION EVIDENCE FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame Division / Location Evidence                                                                     Source
Hughey, Cheneta          1997    Seed                 60:20     A Those are the basic general ones that I can                     60-61
Plaintiff                        Minnetonka, MN         21 remember at this time. Basically work, I was told one
                                                        22 thing -- it was like a moving target. He would tell me
07/08/96 - 12/19/97                                     23 to do one thing and then contradict himself and say he
                                                        24 didn't say that and he told me to do X, when he actually
                                                        25 told me to do Y. So basically set me up to fail, in my
                                                      61: 1 opinion.


Hughey, Cheneta          1997      Seed                 61:19      A Basically, it all falls together. In my                       61-62
Plaintiff                          Minnetonka, MN         20 opinion, I was never trained initially. When I started
                                                          21 there, John Holbeck [Caucasian Manager] told me that it would take me
07/08/96 - 12/19/97                                    a year
                                                          22 and a half to learn the business and to learn the
                                                          23 accounting, how they did their accounting in that
                                                          24 department, because seed was a different -- they did
                                                          25 accounting differently in that division. And I'm
                                                        62: 1 assuming he wouldn't know that, based on the fact that he
                                                           2 used to work in audit before going into the -- becoming
                                                           3 manager of the seed division. But yet still if it takes
                                                           4 you a year and a half to learn the whole process, I was
                                                           5 fired at a year and a half. He told me that it would
                                                           6 take a year to see the whole cycle, because the seasons
                                                           7 are very different when you deal with agriculture in the
                                                           8 seed area. And there were things that he had not yet
                                                           9 learned, because he had only been doing it, I'm going to
                                                          10 assume -- I believe he said like a year or two years he
                                                          11 had -- and there were things that he was still unsure of.




                                                                     Page 7 of 15
                      Case 0:01-cv-02086-DWF-AJB Document 322-6     Filed 08/16/2004                      Page 8 of 15
                                               Summary Exhibit 8 (Amended)
                  SELECTED TERMINATION EVIDENCE FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame Division / Location Evidence                                                                   Source
Hughey, Cheneta          1997    Seed                 141: 9     Q What other training do you think you should                  141-42
Plaintiff                        Minnetonka, MN         10 have had for the position that you didn't get?
                                                        11     A Based on that job, basically being exposed more
07/08/96 - 12/19/97                                     12 to the cycle, the typical changes that would affect that
                                                        13 particular department, based on him being -- working with
                                                        14 a -- for instance, the Canadian operations for, I
                                                        15 believe, two years that he [John Holbeck, Caucasian Manager] handled
                                                     that account, he
                                                        16 should have been -- should have been more aware of that
                                                        17 side of the business in order to explain to me exactly
                                                        18 what happens instead of telling me after the fact, or me
                                                        19 asking questions and he -- and he -- him taking it upon
                                                        20 himself to wait later to tell me.
                                                        21     Q Do you think that those failures or
                                                        22 shortcomings are evidence of race discrimination?
                                                        23     A I believe that -- yes, in a sense, I do,
                                                        24 because of the fact that he knew things forthcoming and
                                                        25 he decided to withhold it from me.
                                                      142: 1     Q Like what?
                                                         2     A Just the normal day-to-day processes as far as
                                                         3 you knew this always happens at this time of year, so why
                                                         4 not tell me ahead of time what to expect when you know
                                                         5 this happens.




                                                                   Page 8 of 15
                      Case 0:01-cv-02086-DWF-AJB Document 322-6     Filed 08/16/2004                       Page 9 of 15
                                               Summary Exhibit 8 (Amended)
                  SELECTED TERMINATION EVIDENCE FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame Division / Location Evidence                                                             Source
Hughey, Cheneta          1997    Seed                142: 6     Q Well, what do you -- what advantage do you              142
Plaintiff                        Minnetonka, MN         7 think he was getting by withholding that stuff from you?
                                                        8     A I think he was setting me up to fail.
07/08/96 - 12/19/97                                     9     Q Why? He wanted you out of the department?
                                                        10     A In my opinion, possibly to prove that I might
                                                        11 have been incompetent.
                                                        12     Q Well, it doesn't do him very much good to have
                                                        13 either an incompetent staff accountant or an empty
                                                        14 position, does it?
                                                        15     A Well, if my position was created in the first
                                                        16 place, and I'm taking part of his job responsibilities
                                                        17 that he had, because this is everything that he used to
                                                        18 do, so he was pushing it towards me; and as you see, he
                                                        19 was not involved in the hiring process for me, this was a
                                                        20 job that was actually created, it appeared, to be for me,
                                                        21 so there might have been some resentment there. And the
                                                        22 fact that I'm a black female working with him, he might
                                                        23 have had some issues with that.

Little, Vivian           2003      CIS                 102:21 Q. Well, why do you think you were being                    102-03
Plaintiff                          Chicago, IL           22 terminated?
                                                         23 A. Because I think they were systematically trying
11/17/97 - 03/10/03                                      24 to remove as many African-American employees from that
                                                         25 company as possible.
                                                       103: 1 Q. You weren't terminated, were you?
                                                         2 A. I left.
                                                         3 Q. In fact, you submitted a resignation letter and
                                                         4 left, correct?
                                                         5 A. Yes, I did. I did not have any choice.




                                                                    Page 9 of 15
                      Case 0:01-cv-02086-DWF-AJB Document 322-6     Filed 08/16/2004                        Page 10 of 15
                                               Summary Exhibit 8 (Amended)
                  SELECTED TERMINATION EVIDENCE FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame Division / Location Evidence                                                                  Source
Little, Vivian           2003    CIS                 364: 3 Q. Why did you resign on March 10, 2003?                           364
Plaintiff                        Chicago, IL            4 A. Because I felt like I had no other alternative.
                                                        5 Q. You could have continued to work for a couple
11/17/97 - 03/10/03                                     6 more weeks if you wanted to, couldn't you?
                                                        7 A. I don't think so.
                                                        8 Q. Why not?
                                                        9 A. Because my health was at risk.
                                                        10 Q. What's wrong with your health?
                                                        11 A. At that time, I was very sick. I was under
                                                        12 emotional and physical stress that was very bad.
                                                        13 Q. Was it affecting your job performance?
                                                        14 A. It was affecting my health.
                                                        15 Q. Right. Were the problems with your health
                                                        16 affecting your job performance?
                                                        17 A. The problems were affecting my emotional and my
                                                        18 physical health to such a point that I felt like I had
                                                        19 no other choice but to leave Cargill.

Little, Vivian           2003      CIS                380: 7 A. I don't think that there was anything that I                   380, 382
Plaintiff                          Chicago, IL           8 could have done for Sandip Lalli [Manager] to improve anything. I
                                                         9 don't believe that she ever had any intention of helping
11/17/97 - 03/10/03                                     10 me to improve anything. I think her intention was, as
                                                        11 she has stated before, to move me out of the door.
                                                        ***
                                                        22 Q. So did you make any efforts to comply with the
                                                        23 performance improvement plan?
                                                        24 A. I did everything in my power to do whatever
                                                        25 Sandip Lalli wanted me to do.
                                                        ***
                                                      382: 2 A. I think that feeling was something that was
                                                         3 building up over time, after, you know, doing my best to
                                                         4 try to please her and to do the things that she wanted
                                                         5 me to do.
                                                         6 Q. Is it your testimony that she was demanding
                                                         7 more of you than the job required?
                                                         8 A. I think that she was making demands that were
                                                         9 impossible, and no matter what I did, it would not be
                                                        10 enough.




                                                                   Page 10 of 15
                      Case 0:01-cv-02086-DWF-AJB Document 322-6     Filed 08/16/2004                           Page 11 of 15
                                               Summary Exhibit 8 (Amended)
                  SELECTED TERMINATION EVIDENCE FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame Division / Location Evidence                                                                  Source
Mason-Robinson,          1998    Salt                206: 6 Q.                               . . . Had the                     206-07
Valerie                          Baltimore, MD           7      situation working at Cargill become unbearable for
Plaintiff                                                8      you?
                                                         9 A. Yeah, it had, yes.
07/08/96 - 17/18/98                                     10 Q. Why?
                                                        11 A. Because I felt like as hard as I tried, it really
                                                        12       wouldn't make a difference. I felt like I was on
                                                        13       an emotional roller coaster. Yeah, I felt like
                                                        14       whenever there was an opportunity, I would get
                                                        15       really excited and I would talk to J.R. about it,
                                                        16       my husband, and, well, he was my boyfriend at the
                                                        17       time, and then when something didn't come to
                                                        18       fruition, I became very disappointed and depressed.
                                                        19       So for me, I was, I guess I was tired of the, just
                                                        20       the inconsistency that I saw and the bias that I
                                                        21       saw, and I just felt like there was no way out
                                                        22       but -- they weren't going to give me an opportunity
                                                        23       in the division. So if there was an opportunity
                                                        24       within another division, with Cargill being a large
                                                        25       company, I thought, oh, great, I can move around
                                                     207: 1        the company, I thought that initially when I joined
                                                         2      the company, but then just seeing how the system is
                                                         3      so closed to a certain extent with divisions, I
                                                         4      felt like there was nothing I could do but leave,
                                                         5      and that's what I thought. . .
Scott, Charles           1997    CFI                 363:24 Q. Yeah. Were you told your employment with the                    363 - 64
Plaintiff                        Minnetonka, MN         25 company was being terminated for performance?
                                 (Office Center)     364: 1 A. I was told that my termination from Cargill
02/11/91 - 05/02/98                                      2 Ferrous was because there was no longer a good fit.
                                                        ***
                                                     434:10                                          . . . Also
                                                        11 mentioned that, you know, if anyone asked him his
                                                        12 opinion on, of my performance with Cargill Ferrous, I
                                                        13 had a good track record but there is no longer a good
                                                        14 fit.




                                                                      Page 11 of 15
                        Case 0:01-cv-02086-DWF-AJB Document 322-6     Filed 08/16/2004                            Page 12 of 15
                                                 Summary Exhibit 8 (Amended)
                   SELECTED TERMINATION EVIDENCE FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates      Time Frame Division / Location Evidence                                                                            Source
Sharp, Jacqueline T.       1995    Corn Milling        15. Following the June 1995 bad review, I was informed in August or                 Para. 15
Declarant - Potential              Memphis, TN         September of that year, that I would not be receiving a bonus check. I was
Class Member                                           upset, but I wanted to work toward improvement. However, management,
                                                       especially Mr. Gardner,[Caucasian Manager] refused to work with me. I
09/20/83 - 03/06/96                                    received a poor review, but there was no clear direction given as to how or
                                                       where I needed to improve. I did not know what he wanted or expected. I
                                                       would send him e-mails, detailing the status of what I was doing and areas
                                                       where I was trying to improve. Yet, I would not receive any feedback. I felt
                                                       that my efforts were futile in the sense that management did not appreciate
                                                       my work, responsibilities, or my efforts. I felt I was doing a good job—if I didn’t
                                                       do my job, everyone would know because the instrumentation would be down
                                                       or would provide unreliable results—and that did not happen. I worked hard
                                                       and I sufficiently completed all the tasks and job responsibilities I was asked to
                                                       do. I do not think that management understood my job or thought it was
                                                       important. I finally said enough is enough and I wrote my resignation letter.
                                                       Mr. Gardner asked me why I was quitting, but I just said, “Read the letter.” I
                                                       felt that he had not listened to me, tried to get to know me, or help me at all,
                                                       so why would he listen to me now?

Williams, Jacqueline       2002       WW                    89: 3 Q. Ms. Williams, I wanted to ask you now about                          89
Plaintiff                             Tampa, FL               4 your earlier testimony that you believe Cargill
                                                              5 discharged you because of your race. Why don't you
06/07/93 - 05/08/02                                           6 tell me what you base your belief that you were
                                                              7 terminated because of your race on?
                                                              8 A. The fact that, well, everything that I've
                                                              9 said, the compensation and the promotions were
                                                             10 discriminatory as to me, and the fact that when I
                                                             11 informed them that I would be interested in coming
                                                             12 back, that they said there were no open positions and
                                                             13 I found out that there actually were two.




                                                                        Page 12 of 15
                      Case 0:01-cv-02086-DWF-AJB Document 322-6     Filed 08/16/2004                          Page 13 of 15
                                               Summary Exhibit 8 (Amended)
                  SELECTED TERMINATION EVIDENCE FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame Division / Location Evidence                                                                   Source
Willis, Cheryl           2001    Admin               274: 2 Q. Okay. And the next thing in your list, you                       274
Plaintiff                        Minnetonka, MN         3 said that when there was talk about the department,
                                                        4 C-Tech, being downsized, that John Ringquist appeared
06/02/86 - 05/01/01                                     5 to immediately target you as an individual [Caucasian Manager] who
                                                     would
                                                        6 be removed from the department. Why did you say
                                                        7 that?
                                                        8 A. Because he told me that I would probably be
                                                        9 the one to go on a couple of occasions, and I asked
                                                        10 Shannon and Jamal if he had told them to start
                                                        11 looking and they said no, and he had told me to start
                                                        12 looking.

Willis, Cheryl           2001      Admin               277: 2 Q. Are you claiming that there was anything                       277
Plaintiff                          Minnetonka, MN        3 discriminatory about the fact that Jamal Haider
                                                         4 received the senior I/T business analyst position
06/02/86 - 05/01/01                                      5 over you?
                                                         ***
                                                         8 A. I am stating that what was discriminatory was
                                                         9 the fact that I should have been given an equal
                                                         10 opportunity to apply for the position, which John [Ringquist] had
                                                         11 indicated to me that I was not. I'm believing that
                                                         12 it was also discriminatory that the job description
                                                         13 was written in a way to, to keep me out, and that
                                                         14 John basically did not want me in that position as an
                                                         15 African-American.
                                                         16 Q. When did John indicate to you that you were
                                                         17 not given equal opportunity to apply for that
                                                         18 position?
                                                         19 A. John implied it in telling me that it will
                                                         20 probably be me that will be leaving, and indicating
                                                         21 to me that, that I should look for, that I should
                                                         22 start looking for other, other employment
                                                         23 opportunities.




                                                                    Page 13 of 15
                      Case 0:01-cv-02086-DWF-AJB Document 322-6     Filed 08/16/2004                    Page 14 of 15
                                               Summary Exhibit 8 (Amended)
                  SELECTED TERMINATION EVIDENCE FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame Division / Location Evidence                                                           Source
Wright, Sean             2000    NAGOC               456: 9     Q And did you learn at some point that you had          456-59
Plaintiff                        Minnetonka, MN         10 not been given a customer solutions specialist position?
                                                        11     A Yes, I did.
05/19/97 - 08/05/00                                     12     Q And who told you that?
                                                        13     A Jim Reiff and Paul Butters. [Caucasians]
                                                        ***
                                                     457: 1     Q And what did they tell you in that meeting?
                                                         2    A I seem to remember Reiff saying that I didn't
                                                         3 get the job.
                                                         4    Q Did he tell you why?
                                                         5    A I asked him why, and he said that he gridded me
                                                         6 out and I didn't receive the job.
                                                         7    Q Did he tell you where you had placed when he
                                                         8 completed the grid?
                                                         9    A No, he did not.
                                                        10     Q Did you tell him that you thought he was going
                                                        11 to need an additional customer solutions specialist?
                                                        12     A I told him that I thought he would need not
                                                        13 only additional customer solutions specialists, but that
                                                        14 he was going to need someone who knew the market as well
                                                        15 as I did and had high core competencies.
                                                        ***
                                                     458: 16     Q When Mr. Reiff said that he gridded for the
                                                        17 position, did you understand what he meant?
                                                        18     A I don't think I did, 'cause I seem to remember
                                                        19 I asked him -- asking him about the process.
                                                        20     Q Do you -- did you gain an understanding of the
                                                        21 process during your discussion with Mr. Reiff?
                                                        22     A Not completely, no.
                                                        23     Q What did you understand after you spoke with
                                                        24 him?
                                                        25     A That he gridded me out, gridded -- gridded me
                                                     459: 1 as a candidate and made the decision. I don't know how
                                                         2 that was arrived at or anything about that process.




                                                                  Page 14 of 15
                      Case 0:01-cv-02086-DWF-AJB Document 322-6     Filed 08/16/2004                         Page 15 of 15
                                               Summary Exhibit 8 (Amended)
                  SELECTED TERMINATION EVIDENCE FROM TESTIMONY AND DECLARATIONS
Name / Empl. Dates    Time Frame Division / Location Evidence                                                                Source
Wright, Sean             2000    NAGOC               462:17     Q Do you think that Mr. Reiff's decision not to
Plaintiff                        Minnetonka, MN         18 select you for one of the four positions had anything to
                                                        19 do with your race?
05/19/97 - 08/05/00                                     20     A I believe that it's possible.
                                                        21     Q And what is that based on?
                                                        22     A Once again, based on my beliefs.
                                                        23     Q Well, with respect to Mr. Reiff, why would you
                                                        24 think that he would want to discriminate against you on
                                                        25 the basis of your race?
                                                     463: 1     A Based on the past association with -- between
                                                        2 he and Kevin Kohler.




                                                                     Page 15 of 15
